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UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF INDIANA 15 JAN 20 AH H: 28
INDIANAPoLIs DIvIsIoN w f
REX CLAY, )
)
Piaintiff, )
)
v. ) C use No.
) i :1,5~'="-00'751wP-Mm
MARTIN MARIETTA )
MATERIALS, INC., ) JURY TRIAL DEMAND
)
Defendant. )
COMPLAINT

Plaintiff, REX CLAY (“Plaintiff’), by and through his undersigned counsel, as and for his
Complaint in this action against Defendant, MARTIN MARIETTA MATERIALS, INC.,
(hereinafter “Defendant”), hereby alleges as follows:

NATURE OF THE CLAIMS

l. This is an action seeking declaratory, injunctive and equitable relief, as well as
compensatory, liquidated and punitive damages, to redress Defendant’s unlawful employment
practices in violation of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ lZlOl , et seq.,
as amended (“ADAAA”) (collectively, the “ADA”); and, lndiana Labor Law prohibiting disability

discrimination in employment, I.C. § 22-9-5-19, et seq.

2. Plaintiff claims that he was terminated because of his disability in violation of the
ADA and lndiana law.
3. ` Defendant’s discriminatory termination of Plaintiff after learning about his

disability - - was knowing, malicious, willful and wanton and/or showed a reckless disregard for

Plaintiff. This unlawful conduct has caused and continues to cause Plaintiff to suffer substantial

 

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economic and non-economic damages, permanent harm to his personal reputation, and severe
mental anguish and emotional distress.
JURISDICTION AND VENUE
4. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§ 1331 and 1343, as this action involves a federal question regarding the depravation of
Plaintiffs rights under federal and state law. This action is authorized and instituted pursuant to the
ADA, 42 U.S.C. §§ 12101, et seq.

5. The Court has supplemental jurisdiction over Plaintiffs related claims arising
under state law pursuant to 28 U.S.C. § 1391.

6. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (c) because
Defendant is conducting business in the Southern District of Indiana, and a substantial part of the
events or omissions giving rise to this action occurred within the Southern District of Indiana.

PARTIES

7. Plaintiff is a male United States citizen and resides in Danville, Indiana.

8. Plaintiff is a qualified individual with a disability as defined by 28 U.S.C. § 12131,
and IC § 22-9-5-16, namely alcoholism.

9. At all relevant times, Plaintiff met the definition of an “employee” under all
applicable statutes and was employed by Defendant as a Utility Person located at Plainfield,
lndiana.

lO. Upon information and belief, at all times relevant herein, Defendant is a private for-
profit North Carolina corporation with its principal place of business located at 2710 WycliffRoad,

Raleigh, North Carolina and is a citizen of the State of North Carolina.

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11. At all times relevant herein, Defendant is a corporation, duly registered to conduct
business in the State of lndiana; was conducting business in the State of lndiana; and continues to
transact business in the State of lndiana, including Marion County, Indiana.

PROCEDURAL REQUIREMENTS

12. On or about 8 April 2014, Plaintiff filed a charge of discrimination with the U.S.
Equal Employment Opportunity Commission (“EEOC”) (Charge No. 470-2014-01572) alleging
violations of the ADA. This discrimination charge arose out of the same facts alleged herein.

13. On or about 31 October 2014, Plaintiff received his Notice of Suit Rights from the
EEOC. This action has been filed within 90 days of Plaintiff’ s receipt of his Notice of Right to Sue
from the EEOC.

14. Any and all other prerequisites to the filing of this suit have been met.

' FACTUAL ALLEGATIONS

15. Plaintiff was classified as a Utility Person whose primary work location was in
Plainfield, lndiana. Plaintiff held this position since on or about 5 June 2006 until his termination
on or about 19 September 2013.

16. At the time of Plaintiff s employment in 2006, holding a valid driver’s license was
not an essential job function for the Utility Person position.

17. Plaintiff, at all times relevant to this action, had been able to perform all of the
duties he has been assigned when permitted to work as a Utility Person.

l8. Sometime in 2012, Defendant began assign the Plaintiff, approximately one to two
days per week to work at another location approximately 10 miles from his primary work location

to keep inventories and load trucks.

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19. Sometime in or about June of 2013, Plaintiff requested leave under the Family
Medical Leave Act to undergo treatment for his alcohol dependency.

20. On or about 13 September 2013, Plaintiffs driver’s license was suspended by the
State of lndiana because of a DUI (driving under the influence of alcohol).

21. In 2012-2013, holding a valid driver’s license was not an essential job function for
a Utility person, only incidental to Plaintiff s position as a Utility Person.

22. On or about 19 September 2013 Defendant terminated Plaintiffs employment for
the reason that Plaintiff took a ‘vacation day’ off to attend court, but did not tell the Defendant the
reason for the vacation day (i.e., attending court) which the Defendant construed as dishonesty.

23. At this time Defendant learns of Plaintiffs loss of his driver’s license for which
Defendant cites as another reason for loss of employment as holding a valid driver’s license was
an essential job function.

24. Defendant refusal to make reasonable accommodation for Plaintiffs disability, as
required by 29 CFR § 1613.704, such as allowing the Plaintiff to find an alternative means of
transportation to Defendant’s alternate work site such as using a taxi, car service or public
transportation would allow the Plaintiff to perform the essential job functions of a Utility Person.

25. Plaintiff s use of a taxi, car service or public transportation to work at Defendant’s
alternate work site would not have presented an undue hardship for the Defendant

26. Upon information and belief, the actions of the above-name defendant was based
upon employment practices and policies developed, approved, adopted, and implemented by the
Defendant.

27. Upon information and belief, the termination of the Plaintiff was for discriminatory

reasons, and the reason given for said termination to be a pretext for disability discrimination

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28. As a result of the discriminatory termination of Plaintiffs employment, Plaintiff s
incurred damage to his economic and emotional well-being, reputation, and professional
development, all to his great loss and detriment

29. Defendant’s refusal to accommodate Plaintiffs disability was a violation of his

statutory ri ghts.
R A I
(Discrimination in Violation of the ADA)
30. The allegations set forth above are re-alleged herein as if repeated verbatim.

31. Plaintiff is a qualified individual within the meaning of §1211 1(8) of the ADA.

32. Defendant terminated plaintiff because of his disability in violation of the ADA.

33. Defendant has discriminated against Plaintiff in violation of the ADA by denying
him equal terms and conditions of employment, including but not limited to, failure to reasonably
accommodate his disability, and by terminating his employment under the guise of Plaintiff s
dishonesty.

34. Defendant regarded the Plaintiff as disabled, and/or because of Plaintiffs record of
disability.

35. As a direct and proximate result of Defendant’s unlawful and discriminatory
conduct in violation of the ADA, Plaintiff has suffered and continues to suffer monetary and/or
economic damages, including but not limited to, loss of past and future income, compensation and
benefits for which he is entitled to an award of monetary damages.

36. As a direct and proximate result of Defendant’s unlawful and discriminatory
conduct in violation of the ADA, Plaintiff has suffered and continues to suffer severe mental

anguish and emotional distress, including but not limited to depression, humiliation,

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embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and emotional pain and
suffering for which he is entitled to an award of punitive damages

37. Defendant’s unlawful and discriminatory actions were intentional, done with
malice and/or showed a deliberate, willful, wanton and reckless indifference to Plaintiffs rights
under the ADA for which Plaintiff is entitled to an award of punitive damages

N F I
(Disability Discrimination in Violation of lndiana Labor Law)

38. The allegations set forth above are re-alleged herein as if repeated verbatim.

39. Defendant has discriminated against Plaintiff in violation of lndiana Labor Law by
denying him equal terms and conditions of employment, including but not limited to, failure to
reasonably accommodate his disability, and by terminating his employment under the guise of
poor job performance, because of his disability, Defendant regarded him as disabled, and/or
because of Plaintiff s record of disability.

40. As a direct and proximate result of Defendant’s unlawful and discriminatory
conduct in violation of lndiana Labor law, Plaintiff has suffered and continues to suffer monetary
and/or economic damages, including but not limited to, loss of past and future income,
compensation and benefits for which he is entitled to an award of monetary damages.

41. As a direct and proximate result of Defendant’s unlawful and discriminatory
conduct in violation of lndiana Labor law, Plaintiff has suffered and continues to suffer severe
mental anguish and emotional distress, including but not limited to depression, humiliation,
embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and emotional pain and

suffering for which he is entitled to an award of punitive damages.

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PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully requests that this Court:

A.

Grant a declaratory judgment that the actions, conduct and practices of
Defendant complained of herein violated the laws of the United States and
the State of lndiana;

Grant an injunction and order permanently restraining Defendant frorn
engaging in such unlawful conduct;

Grant an order directing Defendant to place Plaintiff in the position he
would have occupied but for Defendant’s discriminatory and/or otherwise
unlawful conduct, as well as to take such affirmative action, including
reinstatement, as is necessary to ensure that the effects of these unlawful
employment practices are eliminated and do not continue to affect the
Plaintiff, or in lieu of reinstatement front-pay;

Grant an award of compensatory damages in an amount to be determined at
trial, plus pre-judgment interest, to compensate the Plaintiff for all monetary
and/or economic damages, including but not limited to, the loss of past and
future income, wages, compensation, job security and other benefits of
employment;

Grant an award of punitive damages, plus pre-judgment interest, to
compensate the Plaintiff for his severe mental anguish and emotional
distress, humiliation, depression, embarrassment, stress and anxiety, loss of
self-esteem, self-confidence and personal dignity, and emotional pain and

suffering and any other physical or mental injuries;

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F. Grant an award of punitive damages, plus pre-judgment interest, to
compensate Plaintiff for harm to his personal reputation and loss of career
fulfillment;

G. Grant an award of punitive damages for their willful, wanton, malicious
and reckless conduct described above, in amounts to be determined at trial;

H. Grant an award of damages for any and all other monetary and/or non-
monetary losses suffered by Plaintiff in an amount to be determined at trial,
plus pre-judgment interest;

l. Grant an award to the Plaintiff for attorney fees and costs of this action; and

J. Grant such further relief as the Court deems necessary and proper.

JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Respectfully submitted,

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